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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA

V.                                   NO. 4:11CR00209-15 JMM

NICHOLAS HARVEY
USM #26535-009

                                  AMENDED JUDGMENT


       Pursuant to Federal Rule of Criminal Procedure 35 the Judgment and Sentence entered in

this case on December 12, 2013 (DE #882) is amended and corrected as stated on the record in

the re-sentencing hearing held on December 23, 2013 and herein.

       It was the intent of the Court when Mr. Harvey was sentenced to time served that he go

to the half-way house as soon as he could be designated without serving any more time in the

Bureau of Prisons (BOP) than necessary. The Court was advised that this could occur within

thirty (30) days.

       Following the sentencing on December 12, 2013, the Court was advised that it had been

determined that there was no basis for detaining Mr. Harvey until the half-way house placement

based upon the stated sentence of time served. Accordingly, it became necessary to specify a

sentence of months to be served with credit for time served in custody and good time credit.

       In consulting with a representative of the BOP, the Court has been advised that Mr.

Harvey may be entitled to good time credit of one hundred and eight (108) days.

       The purpose of the re-sentencing is not to impose additional time to be served in the BOP

but is to accomplish the intended sentence of keeping Mr. Harvey in custody until the half-way

house placement.
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       Based on the fact that Mr Harvey has served 804 days in custody to the time of the

original sentence; it was intended to detain Mr. Harvey for only thirty (30) additional days to

allow for half-way house placement, for a total of 834 days. Adding the one hundred eight (108)

days of good time credit to which Mr. Harvey may be entitled: the Judgment and Sentence of the

Court is amended, Mr. Harvey shall serve a total of 942 days in the Bureau of Prisons. All other

conditions imposed in the original Judgment, including supervised release for a term of three (3)

years, will remain the same.

       Again, it is the intent of the Court that Mr. Harvey serve only an additional thirty (30)

days in custody. Therefore, if the sentence computation of the BOP differs from the intent of the

Court, the Court will amend and correct this Judgment accordingly.

       IT IS SO ORDERED this 24th day of December, 2013.



                                                     ____________________________________
                                                     James M. Moody
                                                     United States District Judge
